                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION

ANGELA ZORICH,                            )
                                          )
             Plaintiff,                   )
                                          )
       vs.                                )         No. 4:15-CV-871 (CEJ)
                                          )
COREY ZAVORKA, et al.,                    )
                                          )
             Defendants.                  )


                             MEMORANDUM AND ORDER

      This matter is before the Court on plaintiff’s motion to voluntarily dismiss her

case without prejudice. Defendants have filed a response in opposition and the

issues are fully briefed.

      I.        Background

      On April 29, 2014, the St. Louis County Police Tactical Response Unit

executed a search warrant at plaintiff’s home in St. Louis County. Plaintiff alleges

that defendant Robert Rinck, a St. Louis County police officer assigned to the

“problem properties unit,” obtained the warrant even though she had agreed to

make arrangements for him to inspect her home. Plaintiff further alleges that the

Tactical Response Unit battered in her front door while she and other family

members, including a child, were present. Defendant Corey Zavorka, the first

officer who entered the home, shot and fatally wounded the family dog.

      On June 2, 2015, plaintiff filed this action pursuant to 42 U.S.C. § 1983,

claiming that defendants Rinck and Zavorka violated her rights under the Fourth,

Fifth and Fourteenth Amendments to the United States Constitution. Plaintiff also

asserts state law tort claims. On August 18, 2015, the Court dismissed plaintiff’s
claim that St. Louis County was liable for the constitutional violations committed by

the individual defendants based on the theory of respondeat superior. [Doc. # 17].

On October 28, 2015, plaintiff file a motion for leave to amend her complaint to add

three new defendants, assert a new claim against defendant Zavorka, and assert

three claims against St. Louis County for municipal liability. On November 14, 2016,

the Court denied plaintiff’s motion for leave to amend for failure to establish good

cause to modify the Case Management Order as required by Fed.R.Civ.P. 16(b). On

December 5, 2016, plaintiff filed this motion to voluntarily dismiss without

prejudice.

        II.   Discussion

        Federal Rule of Civil Procedure 41(a)(2) provides that after a defendant has

served its answer, “an action may be dismissed at the plaintiff’s request only by

court order, on terms that the court considers proper.” When deciding whether to

exercise its discretion to allow a voluntary dismissal, the “district court should

consider . . . whether the party has presented a proper explanation for its desire to

dismiss; whether a dismissal would result in a waste of judicial time and effort; and

whether a dismissal will prejudice the defendants.” Mullen v. Heinkel Filtering Sys.,

Inc., 770 F.3d 724, 727–28 (8th Cir. 2014) (internal quotations and citations

omitted). “A party is not permitted to dismiss merely to escape an adverse decision

nor to seek a more favorable forum.” Donner v. Alcoa, Inc., 709 F.3d 694, 697 (8th

Cir. 2013) (citation omitted).

        Plaintiff offers three explanations in support of her motion to dismiss. First, in

February 2016, her primary attorney withdrew from the representation to accept

other    employment.     Although    three   attorneys    subsequently    entered    their


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appearance on plaintiff’s behalf, two of the three anticipate being unavailable to

assist in the representation and the third did not enter his appearance until July

2016. Plaintiff acknowledges that the anticipated departure of two of her attorneys

is speculative, but argues that waiting for their actual departure will preclude

voluntary dismissal. Second, plaintiff claims to have learned new information during

witness depositions on November 30, 2016, including that an unknown officer

aimed a gun at the head of plaintiff’s son during the execution of the warrant. As

defendant notes, the witnesses in question were plaintiff’s sons and the mother of

her grandson.     It is unknown whether the witnesses failed to disclose this

information earlier to plaintiff’s counsel and, if so, why they failed to disclose it.

Finally, plaintiff contends that the denial of her motion to amend her complaint will

require her to file a separate lawsuit and engage in dual litigation, which would

waste judicial resources.

      Given the seriousness of the allegations and the number of potential

defendants, the Court finds that plaintiff has offered proper explanations for

dismissal and is not seeking a more favorable forum. Although plaintiff seeks

dismissal to avoid the Court’s order denying her leave to file an amended

complaint, this factor has little significance where, as here, a plaintiff intends to

pursue the rejected claims in a separate lawsuit. Indeed, dismissal will permit

plaintiff to proceed in a single lawsuit, which will greatly promote judicial efficiency

and reduce litigation expenses for all parties.

      Defendants argue that they will be prejudiced by dismissal because they

have expended substantial time and expense on their defense. They represent that

they have completed the depositions of all the fact witnesses they intend to pursue.


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In addition, defendants argue that the threat of ongoing litigation amounts to

unwarranted prejudice. Legal prejudice means “something other than the necessity

that defendant might face of defending another action.” Mullen, 770 F.3d at 728

(citation omitted). Similarly, the expense and effort of drafting and responding to

discovery prior to dismissal does not constitute legal prejudice. Id. With respect to

defendants’ contention that the litigation is advanced, the Court notes that

discovery remains open, the deadline for filing dispositive motions is more than a

month away, and trial is not set until August 2017.

      Rule 41(a)(2) allows a court to dismiss an action upon terms that the court

deems proper. Here, defendants ask that the Court require plaintiff to pay costs as

a condition of any dismissal. The Court declines to do so.       However, to avoid

unnecessary expense, the parties will not be required to re-depose witnesses or

engage in other repetitive discovery.    Therefore, as a condition of dismissal, all

discovery obtained in this case shall be used in any subsequent litigation based on

the same claims asserted here.

      Accordingly,

      IT IS HEREBY ORDERED that plaintiff’s motion to voluntarily dismiss

without prejudice pursuant to Fed.R.Civ.P. 41(a)(2) is granted on the condition

that all discovery obtained in this case shall be used in any subsequent litigation

based on the same claims asserted here.




                                              CAROL E. JACKSON
                                              UNITED STATES DISTRICT JUDGE

Dated this 17th day of January, 2017.

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